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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.      23-cr-80064-Smith/Maynard
                                       -----------------
                                       18 U.S.C. § 875(c)
                                       18 U.S.C. § 981(a)(l)(C)


 UNITED STATES OF AMERICA

 vs.

 FRANK STANZIONE,

          Defendant.
                                                                                    APR O4 2023
 - - - - - - - - - - - - - - - -I                                                    ANGELA E. NOBLE
                                                                                    CLERK U.S. DIST. CT.
                                                                                    S.D. OF FLA. - W.P.B.
                                           INDICTMENT

        The Grand Jury charges that:

        On or about January 29, 2023, in Palm Beach County, in the Southern District of Florida,

 and elsewhere, the defendant,

                                       FRANK STANZIONE,

 did knowingly transmit in interstate commerce a communication containing a threat to injure the

 person of another, that is, Victim 1, with the intent to communicate a threat and with the knowledge

 that it would be viewed as a threat, in that in a recorded voicemail left for Victim 1, he stated in

 part, "[Victim 1], you fat, [expletive] piece of [expletive]. You better watch your [expletive] back

 because I'm gonna bash your [expletive] head in with a bat until your brains are splattered across

 the [expletive] wall. You lying, disgusting, disgraceful, [expletive]. You [expletive] piece of

 [expletive] . You're gonna get [expletive] murdered you goddamn lying piece of garbage. Watch

 your back, you fat, ugly piece of [expletive]. You and [Victim 2] are dead," in violation of Title

 18, United States Code, Section 875(c).

                                 FORFEITURE ALLEGATIONS

        1.      The allegations of this Indictment are hereby re-alleged and by this reference fully
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 incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

 property in which the defendant, FRANK STANZIONE, has an interest.

        2.      Upon conviction of a violation of Title 18, United States Code, Section 875(c), as

 alleged in this Indictment, the defendant shall forfeit to the United States any property, real or

 personal, which constitutes or is derived from proceeds traceable to such offense, pursuant to Title

 18, United States Code, Section 981 (a)(l )(C).

        All pursuant to Title 18, United States Code, Section 981(a)(l)(C) and the procedures set

 forth in Title '21 , United States Code, Section 853 , as incorporated by Title 28, United States Code,

 Section 2461(c).

                                                        A TRUE BILL


                                                        FOREdoN~

                                                   .'


~         -JcCal/1::.- [;;,_,
 MRKDISPOTO
 ASSISTANT UNITED STATES ATTORNEY



 JOE WHEELER III
 SPECIAL ASSIST ANT UNITED STATES ATTORNEY
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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                                                23-cr-80064-Smith/Maynard
UNITED STATES OF AMERICA                                        CASE NO.: _ _ _ _ _ _ _ _ _ _ _ _ _ __

v.
                                                                CERTIFICATE OF TRIAL ATTORNEY
FRANK STANZIONE,
------=D-e~fe_n_d~a_n_t._ _ __ I                                Superseding Case Information:
                                                                New Defendant(s) (Yes or No)
                                                                                             ---
Court Division (select one)                                     Number of New Defendants
   □ Miami        □ Key West                □ FTP               Total number of counts
   □ FTL          lEI WPB

I do hereby certify that:
     1.     I have carefully conside red the allegations of the indictment, the number of defendants, the number of probable
            witnesses and the legal complexities of the Indictment/Information attached hereto.
     2.     I am aware that the information supplied on this statement wi ll be relied upon by the Judges of this Court in setting
            their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S .C. §3 161.

     3.     Interpreter: (Yes or No) No
                                     ---
            List language and/or dialect:
                                          ------
     4.     This case will take--2=:_days for th e parties to try.

     5.     Please check appropriate category and type of offense li sted below:
            (Check only one)                           (Check on ly one)
            I     IE] 0 to 5 rlays                 □ Petty
            II    D 6 to lO days                   □ Minor
            III   D 11 to 20 days                  D Misdemeanor
            IV    D 21 to 60 days                  fgj Felony
            V     D 61 days and over
     6.     Has this case been previously filed in this District Court? (Yes or No) _N_o_ _
            If yes, Judge___________ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
     7.     Has a complaint been filed in this matter? (Yes or No) No
                                                                      ---
            Ifyes, Magistrate Case No. _ _ _ _ _ _ _ _ _ _ __
     8.     Does this case relate to a previously filed matter in this District Court? (Yes or No) _N_o_ _
            If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
     9.     Defendant(s) in federa l custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     10.    Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     11.    Rule 20 from the _ _ _ _ District of - - - - - - -
     12.    Is this a potential death penalty case? (Yes or No )N__o_ _
     13.    Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
            prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) -       No- -
     14.    Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
            prior to October 3, 20 19 (Mag. Judge Jared Strauss? (Yes or No) -   No- -
     15.    Did this matter involve the participation of or consu ltation with now Magistrate Judge Eduardo I. Sanchez
            during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? _N_o_ _


                                                                By:   --JM-'L.~ &<:,
                                                                           MARK DISPOTO
                                                                           Assistant United States Attorney
                                                                           Court ID No. A5501143
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

 Defendant's Name:      FRANK STANZIONE
           23-cr-80064-Smith/Maynard
 Case No: - - - - - - - - - - -- - -- - - - - - -- - - - - -- - - - -

 Count 1:

 Making a Threatening Communication in Interstate Commerce

 Title 18, United States Code, Section 875(c)
 * Max. Term of Imprisonment: 5 years
 * Mandatory Min. Term of Imprisonment (if applicable): N/A
 * Max. Supervised Release: 3 years
 * Max. Fine: $250,000




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
